            Case MDL No. 3100 Document 535 Filed 03/22/24 Page 1 of 2




                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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                                                  )
 In re: Real Estate Commission Litigation         )   MDL. No. 3100
                                                  )
                                                  )
                                                  )

 NOTICE OF WITHDRAWAL BY KELLER WILLIAMS-AFFILIATED ENTITIES OF
SUPPORT FOR TEXAS DEFENDANTS’ SUBMISSION AND WITHDRAWAL BY THE
               LOKEN GROUP, INC. OF ITS SUBMISSION

       The following Keller Williams-affiliated entities, signatories to the Texas Defendants’

Response in Opposition to Moving Plaintiffs’ petition for transfer and centralization pursuant to

28 U.S.C. § 1407 (ECF No. 268), hereby withdraw their support for that submission and for its

advocacy for centralization in the Eastern District of Texas:

                                   Heyl Group Holdings LLC
                                     The Loken Group, Inc.
                                     Hexagon Group, LLC
                                         DMTX, LLC
                                 Keller Willis San Antonio, Inc.
                                San Antonio Legacy Group, LLC
                                         DJSMM, LLC

In addition, The Loken Group, Inc. withdraws its Supplement to the Response in Opposition to

the Motion to Transfer (ECF No. 275).
          Case MDL No. 3100 Document 535 Filed 03/22/24 Page 2 of 2




Dated: March 22, 2024              Respectfully submitted,

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                                   Keller Willis San Antonio, Inc., and
                                   San Antonio Legacy Group, LLC

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